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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9
                                                                         10   MALIBU MEDIA, LLC,
                                                                         11
United States District Court




                                                                                             Plaintiff,                                No. C 16-01014 WHA
                               For the Northern District of California




                                                                         12     v.
                                                                         13   JOHN DOE SUBSCRIBER ASSIGNED                             ORDER GRANTING EX PARTE
                                                                         14   IP ADDRESS 73.223.182.35,                                MOTION FOR LEAVE TO SERVE
                                                                                                                                       THIRD-PARTY SUBPOENA PRIOR
                                                                         15                  Defendant.                                TO RULE 26(f) CONFERENCE
                                                                                                                       /
                                                                         16
                                                                         17          Plaintiff, Malibu Media, LLC, alleges that it owns registered copyrights in various

                                                                         18   pornographic films and that John Doe defendant directly infringed those copyrights by

                                                                         19   distributing the films on the Internet, using the above-captioned IP address. Malibu Media now

                                                                         20   seeks leave to serve a subpoena on third party Comcast Cable Communications, LLC, in order

                                                                         21   to ascertain the identity of the subscriber using that IP address prior to a Rule 26(f) conference.

                                                                         22          Malibu Media’s motion is hereby GRANTED. This is without prejudice to any motions

                                                                         23   to quash or modify the subpoena that may be filed by any interested party, including Comcast or

                                                                         24   the subscriber assigned to the IP address. Furthermore, the following limitations apply:

                                                                         25          •       The subpoena shall only request the actual name and address of the
                                                                                             subscriber to whom Comcast assigned the above-captioned IP address.
                                                                         26          •       The subpoena shall only seek the name and address of the subscriber for
                                                                         27                  the time frame from FOURTEEN DAYS BEFORE the date of the first alleged
                                                                                             infringing act to FOURTEEN DAYS AFTER the date of the last alleged
                                                                         28                  infringing act.
                                                                                 Case 3:16-cv-01014-WHA Document 7 Filed 03/23/16 Page 2 of 2



                                                                          1          •       Malibu Media shall attach a copy of this order to the subpoena.
                                                                          2          •       Malibu Media may not use any information disclosed by Comcast for any
                                                                                             purpose other than protecting its rights as set forth in the complaint.
                                                                          3
                                                                                     •       Comcast shall, in turn, serve a copy of the subpoena and a copy of this
                                                                          4                  order on the subscriber within TWENTY-FOUR DAYS of the date of service
                                                                                             on Comcast.
                                                                          5
                                                                                     •       The return date on the subpoena shall be no less than FORTY-FIVE DAYS
                                                                          6                  from the date of service on Comcast. Comcast shall not disclose any
                                                                                             identifying information about defendant to Malibu Media prior to the
                                                                          7                  return date or prior to the resolution of any motions to quash or modify
                                                                                             the subpoena.
                                                                          8
                                                                                     •       Malibu Media shall not disclose defendant’s name, address, telephone
                                                                          9                  number, email, social media username, or any other identifying
                                                                                             information, other than defendant’s IP address, that it may subsequently
                                                                         10                  learn. All documents including defendant’s identifying information,
                                                                                             apart from his or her IP address, shall be filed under seal, with all such
                                                                         11                  information redacted on the public docket, unless and until the Court
United States District Court




                                                                                             orders otherwise and only after defendant has had an opportunity to
                               For the Northern District of California




                                                                         12                  challenge the disclosure of any identifying information. Malibu Media
                                                                                             explicitly consented to the inclusion of such a protection in its motion.
                                                                         13
                                                                                     •       Malibu Media must seek leave to serve subpoenas on any other service
                                                                         14                  provider besides Comcast in this matter.
                                                                         15          Any motions relating to the subpoena or the protective order discussed above shall be
                                                                         16   filed prior to the return date of the subpoena.
                                                                         17
                                                                         18          IT IS SO ORDERED.
                                                                         19
                                                                         20   Dated: March 23, 2016.
                                                                                                                                       WILLIAM ALSUP
                                                                         21                                                            UNITED STATES DISTRICT JUDGE
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